   Case 09-01059-M Document 18 Filed in USBC ND/OK on 04/21/10 Page 1 of 4




                      IN THE UNITED STATES BANKRUPTCY COURT
                                                                                      Filed/Docketed
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA
                                                                                      April 21, 2010
In Re:                                                   )
                                                         )
Richard Louis Retherford,                                )   Case No. 09-01996-M
                                                         )   Chapter 7
                                                         )
                                       Debtor.           )

Ervin D. “Bud” Raus, Barbara A. Summa,                   )
Ricky J. Raus, f/k/a/ Ricky J. Cartwright,               )
and Atlas Telephone Company, Inc.,                       )
                                                         )
                                       Plaintiffs,       )
                                                         )
vs.                                                      )   Adversary No. 09-01059-M
                                                         )
Richard Louis Retherford,                                )
                                                         )
                                       Defendant.        )



                                      AGREED JUDGMENT

          NOW, on the date shown below, this matter came on before me, the undersigned Judge of the

United States Bankruptcy Court, for entry of this Agreed Judgment because Ervin D. “Bud” Raus,

Barbara A. Summa, Ricky J. Cartwright, and Atlas Telephone Company, Inc. (“Atlas”) (collectively

“Plaintiffs”) and Defendant, Richard Louis Retherford, (“Defendant”) have agreed to a settlement of

this adversary proceeding resolving all disputes and claims between the parties. The Court being

advised in the premises finds all parties have approved this order for entry and therefore enters

Judgment herein as follows:

          1.     This Court has jurisdiction pursuant to 28 U.S.C. § 1334.

          2.     This is a core proceeding for exception to discharge under § 523(a)(2)(A), (4) and

(a)(6).



                                                     1
  Case 09-01059-M Document 18 Filed in USBC ND/OK on 04/21/10 Page 2 of 4




       3.      On November 3, 2008, an in personam money judgment was entered in favor of the

Plaintiffs against Retherford in the sum of $3,500,000.00 (the “State Court Judgment”) in a civil

action filed in the District Court in and for Craig County, Oklahoma in Case No. CJ-06-103.

       4.      On April 13, 2010 [Doc. 231], this Court entered an order approving the settlement of

this adversary proceeding in the Chapter 11 bankruptcy case filed in this Court by Atlas Telephone

Company, Inc., Case no. 09-11994-M.

       5.      The Defendant was granted a Discharge in the Chapter 7 case above on August 10,

2009 (the “Discharge”).

       IT IS ORDERED, ADJUDGED AND DECREED the State Court Judgment is not subject

to the Discharge and shall be fully enforceable in all respects but only in the amount of

$1,000,000.00 plus interests and costs accruing from and after the date of the entry of this Agreed

Judgment.

       IT IS FURTHER ORDERED that if the sum of $100,000.00 USD is paid to Atlas by or on

behalf of the Defendant within 120 days from and after the date of the entry of this Agreed

Judgment, then 100% of the State Court Judgment shall be subject to the Discharge.

       IT IS FURTHER ORDERED the in accordance with the agreement by and among the

Plaintiffs, all of the right title and interest of Ervin D. “Bud” Raus, Barbara A. Summa, Ricky J.

Cartwright in and to this Agreed Judgment and the State Court Judgment shall be and hereby are

assigned to and fully vested solely in Atlas Telephone Company, Inc.

       Dated this 21st day of April, 2010.




                                                 2
  Case 09-01059-M Document 18 Filed in USBC ND/OK on 04/21/10 Page 3 of 4




APPROVED AS TO FORM AND CONTENT:

___/s/Mark A. Craige_________
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Attorneys for the Defendant


Agreed to and approved by:

The Plaintiffs:

__/s/Ervin D. Raus______________
Ervin D. “Bud” Raus,

__/s/Barbara A. Summa__________
Barbara A. Summa,

__/s/Ricky J. Cartwright__________
Ricky J. Cartwright

Atlas Telephone Company, Inc.

By: __/s/Barbara A. Summa__________
       Barbara A. Summa, its President

The Defendant:

__/s/Richard Louis Retherford________
Richard Louis Retherford


                                          3
Case 09-01059-M Document 18 Filed in USBC ND/OK on 04/21/10 Page 4 of 4
